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                                                                  USDC SDNY
UNITED STATES DISTRICT COURT                                      DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                     ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                         DOC #: _________________
                                                                  DATE FILED: 11/2/2020

               -against-
                                                                            20 Cr. 412 (AT)

BRIAN KOLFAGE,                                                                 ORDER
STEPHEN BANNON,
ANDREW BADOLATO, and
TIMOTHY SHEA,

                       Defendants.
ANALISA TORRES, District Judge:

        The Court has reviewed a letter dated October 29, 2020, submitted by non-parties We
Build the Wall, Inc. and Kris Kobach (together, “Non-Parties”). By November 2, 2020, Non-
Parties shall file their reply to the Government’s opposition to their motion to modify the sealed
post-indictment restraining order. Non-Parties shall file the reply on the public docket.


       SO ORDERED.

Dated: November 2, 2020
       New York, New York
